Case 2:04-Cr-20461-BBD Document 33 Filed 06/01/05 Page 1 of 2 Page|D 44

  

/
» 41. , =D.r\_
J:N THE UNITED s'rATEs DISTRICT coURT F"'ED B" """*“'
Fon THE wEsTERN DISTRICT oF TENNESSEE _
wF.sTERN n:cvzsIoN 05 JUH "l PH 5- 17

RGEEPT!? UiT%QH?
LERK,UER!IS. .
‘~g'.[l O‘:': TN, ?£¥EMPHIS

UNITED STATES OF AMERICA
Plaintiff,
VS. CR. NO. 04-20461-D

MELISHA FRANCESCA FICKLIN
Defendant.

~_.-_r~_,~__,w~_.»~._r~._¢-../-._,

 

oRDER 0N cHANGE oF PLEA
AND SETTING

 

This cause came to be heard on May 31, 2005, the United States
Attorney for this district, Timothy R. DiScenza, appearing' for the
Government and the defendant, Melisha Francesca Ficklin, appearing in person
and with counsel, April R. Goode, who represented the defendant.

With leave of the Court, the defendant withdrew the not guilty plea
heretofore entered and entered a plea of guilty to Count(s) l of the
Indictment.

Plea colloquy was held and the Court accepted the guilty plea.

SENTENCING in this case is SET for MONDAY, AUGUST 22, 2005, at
1:30 P.M., in Courtrodm No. 3, on the 9th floor before Judge Bernice B.
Donald.

Defendant is allowed to remain released on present bond.

ENTERED this the 3 / day of May, 2005.

t_ A/€/

RN:ccE B. ALD y /
UNITED sTATEs DIsTRIcT JUDGE

 

1hwdommememasdonmedowe

tsheet in compliance
with Rn|e 55 and/or 32{b} FRCrP on ' "

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 33 in
case 2:04-CR-20461 Was distributed by faX, mail, or direct printing on
June 8, 2005 to the parties listed.

 

 

Timothy R. DiScenZa

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

April Rose Goode

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

